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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 LONE STAR TECHNOLOGICAL
 INNOVATIONS, LLC,
        Plaintiff,
        v.                                                Civil Action No. 6:19-CV-00059-RWS

 ASUSTEK COMPUTER INC.,                                   (Lead Case)

        Defendants
                                                          JURY TRIAL DEMANDED


 PLAINTIFF LONE STAR TECHNOLOGICAL INNOVATIONS, LLC’S SUR-REPLY
          TO DEFENDANTS’ MOTION TO STRIKE AND EXCLUDE

         Plaintiff Lone Star Technological Innovations, LLC (hereinafter “Lone Star”) respectfully
submits this sur-reply to Defendants’ Motion to Strike and Exclude Certain Claim Construction

Submissions.

   I.        Lone Star Timely Disclosed Its Construction For “Viewer”

         Defendants fail to cite a single authority for the proposition that a parties’ claim

construction cannot change from its preliminary 4-2 disclosures to their 4-3 disclosures. In fact,

Defendants ignore Patent Local Rules 4-2 and 4-3 entirely, without contesting that there can be

differences between preliminary and final constructions. Lone Star’s construction for “viewer”

was timely submitted under the rules. Thus, Lone Star is not asking for a change in the scheduling

order because Lone Star complied with it.

         Similarly, Defendants do not address why they waited 38 days after they were on notice of

Lone Star’s revised construction and until after Lone Star filed its Opening Claim Construction

Brief to take issue with the construction. Nor do Defendants address Realtime Data, LLC v.



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Rackspace US, Inc., No. 616CV00961RWSJDL, 2017 WL 1376621, at *2 (E.D. Tex. Apr. 17,

2017), where the Court refused to exclude Plaintiff’s Expert’s Disclosure stating that “NetApp had

ample opportunities to challenge Realtime’s Local Patent Rule 4-2(b) and 4-3(b) disclosures long

before Realtime filed its Opening Claim Construction Brief, but chose not to take them.” Id.

       Most importantly, to cure any perceived prejudice, Lone Star offered to allow Defendants

to submit a supplemental expert declaration. Defendants declined. Instead, Defendants elected to

move to strike and hamper Plaintiff’s arguments. No prejudice existed. But if it did, it could have

very well been cured but for the Defendants’ decision to opt out of supplementation.

        Finally, Defendants for the first time in their Reply ask the Court to consider deposition

testimony of Lone Star’s expert from another case. “The Court does not accept new arguments,

or a change of theory raised for the first time in a reply.” Digital Generation, Inc. v. Boring, 869

F.Supp.2d 761, 771 (N.D.Tex.2012) (declining to consider new arguments or evidence raised in

reply brief); Branch v. CEMEX, Inc., No. H-11-1953, 2012 WL 2357280, *9 (S.D. Tex. June 20,

2012) (citing Conway v. United States, 647 F.3d 228, 237 n.8 (5th Cir. 2011)). Virginia Innovation

Scis., Inc. v. Amazon.com, Inc., No. 4:18-CV-474, 2019 WL 6117308, *4 (E.D. Tex. Nov. 18,

2019). Defendants not only had an opportunity to present this in its Motion to Strike (DKT. No.

86, 2-6), but also in its Responsive Claim Construction Brief (DKT. No. 88, at 13-19), but chose

not to. Defendants also ignores the fact that Lone Star’s proposed construction in the prior case

was “no construction necessary”. See Lone Star Technological Innovations, LLC v. Acer, Inc.,

Case No. 6:15-cv-00973-JRG-JDL (E.D. Tex)., Dkt. Nos. 50 (Lone Star’s Opening Claim

Construction Brief at 27-28) and 55 (Lone Star’s Reply Claim Construction Brief at 10). Lone

Star has, therefore, not taken a contradictory position on viewer. Defendants have failed to show




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that they suffered any harm when Lone Star complied with the scheduling order in providing its

preliminary and final proposed constructions for “viewer.”

         For all of the above reasons, Plaintiff’s Motion should be denied.

   II.      Lone Star’s Extrinsic Evidence Was Properly Disclosed And Should Be Allowed
            Court’s Previous Proposed Constructions

                A.      Exhibit 5

         Defendants ignore the caselaw cited by Lone Star regarding admissibility of Internet

articles in patent cases where there is proof of “circumstantial indicia” of authenticity. Lone Star

has satisfied its burden. Had Defendants raised this issue earlier, Lone Star could have sought

discovery from Adobe confirming the date of publication of the document. However, despite the

fact that Lone Star disclosed Exhibit 5 in its Rule 4-2 Disclosures, Defendants never objected until

after Lone Star had submitted its brief and it was too late for Lone Star to conduct such discovery.

Lone Star asks that the Court to deny Defendants’ objections to same.

                B.      Exhibit 2

         Lone Star submitted a declaration from attorney Bradley Liddle with its opposition

attesting to the authenticity of Exhibit 2. See Dkt. No. 91-1. Defendants again ignore the case law

cited by Lone Star regarding the relevancy and admissibility of prior claim construction

proceedings.

         Lone Star does not deny that Exhibit 2 represented the Court’s preliminary constructions

in a prior case. However, if anything, the fact that the chart outlines a Court’s preliminary

constructions should go to weight, not admissibility. Certainly, Defendants were free to bring up

how the Court may have changed its ruling or thoughts based on the publicly available transcript.

Defendants’ objections to the Honorable Judge Love’s preliminary constructions should be denied.




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    III.      Lone Star’s Tutorial Properly Educates The Court Regarding The Technology
              At Issue

           Lone Star has previously used this same tutorial (as it relates to the ’435 Patent) in Lone

Star Technological Innovations, LLC v. Acer, et al., Case No. 6-15-cv-973-JRG-JDL. The tutorial

is meant only to provide a technical background about the inventions of the patent, not any

commentary or argument on any specific terms.             As such, Lone Star created the tutorial

independent from its claim construction and in a manner that is hopefully helpful as an introduction

to the subject matter for the Court. Defendants provide no valid reasons why the tutorial should

be struck.

    IV.       Conclusion

           For the foregoing reasons, Lone Star asks the Court to deny Defendants’ motion in its

entirety.


Dated: May 29, 2020                                 Respectfully submitted,

                                                    By: /s/ Bradley D. Liddle


                                                        Bradley D. Liddle
                                                        Texas State Bar Number 24074599
                                                        bliddle@carterarnett.com
                                                        Minghui Yang
                                                        Texas State Bar Number 24091486
                                                        myang@carterarnett.com
                                                        Laura Maninger
                                                        Texas State Bar Number 24106245
                                                        lmaninger@carterarnett.com
                                                        CARTER ARNETT, PLLC
                                                        8150 N. Central Expressway, Suite 500
                                                        Dallas, Texas 75206
                                                        (214) 550-8188

                                                        John Saba
                                                        WITTLIFF CUTTER PLLCS
                                                        1803 West Avenue



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                                                     Austin, Texas 78701
                                                     (512) 960-4865
                                                     john@witliffcutter.com

                                                     John Lee (admitted to E.D. Texas)
                                                     BANIE & ISHIMOTO LLP
                                                     3705 Haven Ave. $137
                                                     Menlo Park, CA 94025
                                                     (650) 241-2771
                                                     Attorneys for Plaintiff Lone Star
                                                     Technological Innovations, LLC



                               CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2020, I electronically filed the foregoing Motion using

the CM/ECF system which will send notification of such filing via electronic mail to all counsel

of record.

                                                    /s/ Bradley D. Liddle




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